
*522OPINION.
Teammell :
We are convinced by the testimony that the petitioner actually expended the amount of $8,000 for expenses of traveling, food and lodging of its president while away from the place of business of the petitioner during 1919. Murrill, the president, testified that he kept and made a statement of the expenses and handed them to a clerk in his office to be placed on the proper books of the petitioner, but that the statement was torn and a portion of it was lost. We are satisfied as to the truth of the statements made by the witness on the stand and are of the opinion that the amount of $1,800, in addition to the amount of $1,200 allowed by the respondent for such expenses, should be allowed as a deduction.
With respect to the question of depreciation, there is no evidence as to the kind or character of the assets, the cost thereof or any other facts upon which we could find that the determination of the respondent was not correct. We therefore affirm the action of the respondent in that respect.
*5233STo testimony was introduced with respect to the other alleged errors and we must affirm the determination of the respondent in all respects, except with respect to the disallowance of traveling expenses in the amount of $1,800, as above set forth.

Judgment roill be entered on 15 days' notice, under Rule 50.

